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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

ROBERT T. BROCKMAN,                         )
          Plaintiff,                        )
                                            )       Case No. 22-cv-00202
v.                                          )
                                            )
UNITED STATES OF AMERICA                    )
          Defendant.                        )

                                JOINT STATUS REPORT

        Pursuant to the Court’s Order, Dkt. No. 43, the parties file this joint status report.

1.      Plaintiff Robert T. Brockman brought this above-referenced action pursuant to 26

U.S.C. § 7429(b) seeking review of a jeopardy assessment and jeopardy levy.

2.      The following motions are outstanding and ripe for determination:

      Dkt. No. 10: Plaintiff’s Motion for Determination on Complaint of Judicial
       Review and Abatement of Jeopardy Assessment and Jeopardy Levy Pursuant to 26
       U.S.C. § 7429 – (Dkt. No. 21: United States’ Opposition, Dkt. No. 34: United
       States’ Notice of Correction, Dkt. No. 35: Plaintiff’s Reply);

      Dkt. No. 17: United States’ Motion to Extend Word limits – (Dkt. No. 19
       Plaintiff’s Opposition, Dkt. No. 20: United States’ Reply); and

      Dkt. No. 37: Plaintiff’s Motion for Leave to File a Supplemental Memorandum in
       Support of Motion for Determination on Complaint (Dkt. No. 38: Plaintiff’s
       Supplemental Memorandum, Dkt. No. 39: United States’ Response in Opposition,
       Dkt. No. 41: Plaintiff’s Reply).

3.      The last filing in the case was Plaintiff’s letter to the Court filed on March 29,

2022, Dkt. No. 42.

4.      No bond or advance payment has been made to the IRS by Robert Brockman, the

AEBC Trust, or any other person or entity to stay collection of Robert Brockman’s tax


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liabilities at issue in this case. The most recent communication regarding posting a bond

or staying collection of the jeopardy assessments against Robert Brockman at issue in this

case occurred on April 20, 2022.

5.    There has been no settlement of Robert Brockman’s tax liabilities or of this case.

6.    Mr. Brockman’s counsel represents that Mr. Brockman was hospitalized in late

April – early May and was released into home hospice care.



Dated: June 17, 2022
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                            CERTIFICATE OF SERVICE

       I certify that on June 17, 2022, I filed the foregoing document by electronic means

on all parties who have entered an appearance through the Court’s ECF system, including

the following:

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